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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                      CASE NO.:

 DESIREE OLKER,
 and other similarly situated individuals,

         Plaintiff (s),

 v.

 EDWARD ZENGEL & SON EXPRESS, INC.

       Defendant,
 ______________________________________/


                                     COMPLAINT
                          (OPT-IN PURSUANT TO 29 U.S.C § 216(b)

         COMES NOW the Plaintiff DESIREE OLKER by and through the undersigned

 counsel, on behalf of herself and other similarly situated individuals, hereby sues

 Defendant EDWARD ZENGEL & SON EXPRESS, INC., and alleges:

                          JURISDICTION VENUES AND PARTIES

      1. This is an action to recover money damages for unpaid regular and overtime wages,

         and for retaliation under the laws of the United States. This Court has jurisdiction

         pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201-219 (Section 216 for

         jurisdictional placement) (the FLSA or “the Act”).

      2. This Court also has jurisdiction over Plaintiff’s claims under the FLSA pursuant to

         29 U.S.C. §216 (b).

      3. At all times material hereto Plaintiff DESIREE OLKER was a resident of Orange

         County, Florida, within the jurisdiction of this Honorable Court. The Plaintiff is a

         covered employee for purposes of the Act.

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    4. Defendant EDWARD ZENGEL & SON EXPRESS, INC. hereinafter EDWARD

       ZENGEL EXPRESS, or Defendant) is a Florida Profit Corporation, having its main

       place of business in Orange County, Florida, within the jurisdiction of this

       Honorable Court. The Defendant was the employer of Plaintiff and others similarly

       situated within the meaning of Section 3(d) of the “Fair Labor Standards Act” [29

       U.S.C. § 203(d)]. The Defendant’s headquarters is located at 4180 Canal Street,

       Fort Myers, FL 33916. The Defendant was and is engaged in interstate commerce

       within the meaning of the FLSA.

    5. All the actions raised in this complaint took place within the jurisdiction of this

       Court.

                    ALLEGATIONS COMMON TO ALL COUNTS

    6. This cause of action is brought by Plaintiff as a collective action to recover from

       Defendant regular hours, overtime compensation, retaliatory damages, liquidated

       damages, and the costs and reasonable attorney’s fees under the provisions of Fair

       Labor Standards Act, as amended, 29 U.S.C. § 201 et seq (the “FLA or the “ACT”),

       and on behalf of Plaintiff and all other current and former employees similarly

       situated to Plaintiff (“the asserted class”) who worked during one or more weeks

       on or after February 13, 2017, (the “material time”) without being properly

       compensated for regular hours, and for overtime hours at the rate of time-and-a-

       half their regular rate, for all hours worked in excess of forty (40) hours per week,

       at any time from three years prior to the filing of this complaint and until a judgment

       is entered in this case.




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    7. Defendant EDWARD ZENGEL EXPRESS is a private motor carrier, providing

       transportation of regular mail, express mail, and packages, to the United States

       Postal Service. The Defendant is a contractor for the U.S. Postal Service (USPS),

       and in addition to the Service Contract Act of 1965, Defendant is subjected to the

       Fair Labor Standards Act (29 U.S.C. 201-219), including its pertaining regulations.

    8. Defendant EDWARD ZENGEL EXPRESS employed Plaintiff DESIREE OLKER

       from approximately November 01, 2014, to September 11, 2019, or more than 4

       years. However, for FLSA purposes the relevant employment period is 134 weeks,

       (from February 13, 2017, to his last day of employment on or about September 11,

       2019).

    9. The Plaintiff was a full time non-exempted hourly employee, working 6 days per

       week more than 40 hours every week. During the relevant period of employment,

       the Plaintiff’s wage-rate was $17.30 and $11.44 an hour.

    10. The Plaintiff was employed as a “local express mail delivery driver”, and she

       performed her duties on motor vehicles weighing 10,000 pounds or less.

    11. Consequently, the Plaintiff was covered under the Small Vehicle Exemption of the

       Motor Carrier Act, and she was entitled to be paid for overtime hours as established

       by the Fair Labor Standards Act.

    12. While employed by the Defendant, the Plaintiff worked 6 days per week, more than

       40 hours per week without proper compensation. The Plaintiff performed the same

       or similar duties as that of those other similarly situated “local drivers” who

       Plaintiff observed worked in excess of 40 hours per week without overtime

       compensation.



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    13. The Plaintiff's main duty consisted of the distribution of USPS express-mail and

       packages.   The Plaintiff had a designated route delivering express mail and

       packages to several post office facilities located in Palm Bay City, Brevard County.

    14. The Plaintiff worked 6 days per week an irregular schedule. On Mondays, the

       Plaintiff worked from around 2:30 PM to 7:50 PM (5 hours, plus 20 minutes). From

       Tuesdays to Fridays, Plaintiff began her daily route, approximately at 8:20 AM.

       The Plaintiff picked up her cargo from two different USPS processing and

       distribution centers located in the Orlando area, and then she transported and

       delivered the items to the designated post office facilities in Palm Bay City. The

       Plaintiff completed her deliveries around 11:30 AM.

    15. The Defendant ordered Plaintiff to stay in the area of Palm Bay City and waiting

       until 5:00 PM to pick up mail and cargo from all the USPS post offices in her route

       and took them to the Processing and distribution center in the Orlando area to be

       properly shipped. The Plaintiff completed her shift approximately at 7:50 PM when

       she arrived at EDWARD ZENGEL EXPRESS’ yard in Orlando.

    16. On Mondays Plaintiff worked 5.20 hours; from Tuesdays to Fridays (4 days)

       Plaintiff worked an average of 11.5 hours daily, and on Saturdays, Plaintiff worked

       4 hours plus 40 minutes. The Plaintiff completed an average of 56.40 working

       hours weekly.

    17. The Plaintiff worked in excess of 40 hours per week, but she was not properly

       compensated for all her working hours. The Plaintiff was not paid for all her regular

       hours, and she was not paid for overtime hours.




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    18. Specifically, the Plaintiff alleges that she was not paid for waiting time and regular

       hours as follows:

       A.-Waiting Time,

       The Plaintiff was engaged to wait for 6 hours. Waiting was an essential part of her

       job. Every day she had a waiting period of 6 hours that constitute compensable

       working hours. These daily 6 working compensable hours, were not paid to Plaintiff

       at any rate, not even at the minimum wage rate, as established by the FLSA.

       From Tuesday to Friday Plaintiff traveled from Orlando to Palm Bay City as part

       of her regular and principal activity, she spent between 1:15 and 1:30 minutes

       driving. After Plaintiff finished her deliveries approximately at 11:30 AM, the

       Plaintiff was required to stay in Palm Bay City until 5:00 PM with the purpose of

       picking up USPS mail and cargo. The Plaintiff was not allowed by the Defendant

       to return to Orlando to avoid double car expenses. The Plaintiff was unable to use

       the time effectively for her own purposes because she had time constraints and she

       was in possession and remained in custody of the Company cargo van. However,

       every week Plaintiff was paid for less than 40 regular hours. A portion of this

       “waiting time” constitute unpaid regular hours, and the remaining hours, constitute

       unpaid overtime hours.

       B.- Missing Regular Hours

       During the relevant time of employment, the Plaintiff was not paid for all her

       working regular hours. The Plaintiff was paid according to a pre-set schedule

       regardless of the real number of hours worked.




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    19. The Plaintiff did not clock-in and out, but she wrote down part of her working

       hours. The Defendant was able to track the number of hours worked by Plaintiff

       and other similarly situated individuals. The Defendant should be in possession of

       time records.

    20. Therefore, Defendant willfully failed to pay Plaintiff overtime at the rate of time

       and a half his regular rate, for every hour that he worked in excess of forty (40), in

       violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

       207(a)(1).

    21. The Plaintiff was paid bi-weekly with paystubs that did not provide basic

       information about job classification, the number of days and hours worked, wage

       rate paid etc., etc.

    22. The Plaintiff was in complete disagreement with the number of regular hours paid

       to her and she complained multiple times with her supervisor Jose D. Pineiro, but

       this supervisor never provided Plaintiff with a satisfactory answer or explanation.

    23. On or about August 2019, looking for an increase in her wages, the Plaintiff

       requested to work on a part-time basis for EDWARD ZENGEL EXPRESS, and the

       Defendant accepted Plaintiff’s petition. Soon, the Plaintiff got a part-time job with

       another company to supplement her income.

    24. Around the same time, it was also known that Plaintiff had participated in an

       investigation of the Department of Labor about unpaid wages at EDWARD

       ZENGEL EXPRESS.

    25. On or about September 11, 2019, the Plaintiff was terminated by Defendant using

       pretextual reasons. Plaintiff was accused by his supervisor Jose D. Pineiro, of



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       leaving her job voluntarily. The Plaintiff protested and talked to Human Resources

       and let them know that she did not resign and that she was fired.

    26. Plaintiff is not in possession of time and payment records, but she will provide a

       good faith estimate of the unpaid regular and overtime hours, based on a workweek

       of 56.40 working hours, with an average of 25.15 regular hours paid; 14.85 regular

       hours unpaid, and 16.40 overtime hours unpaid. After proper discovery, the

       Plaintiff will amend her Statement of Claim.

    27. Plaintiff DESIREE OLKER intends to recover any unpaid regular hour, overtime

       hour, retaliatory damages, liquidated damages, and any other relief as allowable by

       law.

    28. The additional persons who may become Plaintiffs in this action are employees

       and/or former employees of Defendant who are and who were subject to the

       unlawful payroll practices and procedures of Defendant and were not paid regular

       or overtime wages at the rate of time and one half of their regular rate of pay for all

       overtime hours worked in excess of forty.

                            COUNT I:
  WAGE AND HOUR FEDERAL STATUTORY VIOLATION of 29 U.S.C. § 207 (a)
                 (1) FAILURE TO PAY OVERTIME

    29. Plaintiff DESIREE OLKER re-adopts each and every factual allegation as stated in

       paragraph 1-28 above as if set out in full herein.

    30. This action is brought by Plaintiff and those similarly-situated to recover from the

       Employers unpaid overtime compensation, as well as an additional amount as

       liquidated damages, costs, and reasonable attorney’s fees under the provisions of

       29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207.



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       29 U.S.C. § 207 (a)(1) states, “No employer shall employ any of his employees…

       for a workweek longer than 40 hours unless such employee receives compensation

       for his employment in excess of the hours above specified at a rate not less than

       one and a half times the regular rate at which he is employed.”

    31. The Employer EDWARD ZENGEL EXPRESS was engaged in interstate

       commerce within the meaning of the FLSA, and as defined in §§ 3 (r) and 3(s) of

       the Act, 29 U.S.C. § 203(r) and 203(s). The Defendant is a transportation company,

       and through its business activity, participate in interstate commerce. The Defendant

       had more than two employees recurrently engaged in commerce or in the

       production of goods or services for commerce. The Employer/Defendant obtains

       and solicits funds from non-Florida sources, accepts funds from non-Florida

       sources, uses telephonic transmissions going over state lines to do its business,

       transmits funds outside the State of Florida, and otherwise regularly engages in

       interstate commerce, particularly with respect to their employees.              Upon

       information and belief, the annual gross revenue of the Employer/Defendant was

       always material hereto in excess of $500,000 per annum, and/or Plaintiff and those

       similarly situated, by virtue of working in interstate commerce, otherwise satisfy

       the Act’s requirements. Therefore, there is FLSA enterprise coverage.

    32. The Plaintiff was employed by an enterprise engaged in interstate commerce. The

       Plaintiff’s work for the Defendant likewise affects interstate commerce. Plaintiff

       was a local driver and through his daily activities he regularly, handled or otherwise

       worked on goods and/or materials that have been moved across State lines at any

       time in the course of business. Therefore, there is FLSA individual coverage.



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    33. Defendant EDWARD ZENGEL EXPRESS is a private motor carrier, providing

       transportation of regular mail, express mail, and packages, to the United States

       Postal Service. The Defendant is a contractor for the U.S. Postal Service (USPS),

       and in addition to the Service Contract Act of 1965, the Defendant is subjected to

       the Fair Labor Standards Act (29 U.S.C. 201-219), including its pertaining

       regulations.

    34. Defendant EDWARD ZENGEL EXPRESS employed Plaintiff DESIREE OLKER

       from approximately November 01, 2014, to September 11, 2019, or more than 4

       years. However, for FLSA purposes the relevant employment period is 134 weeks,

       (from February 13, 2017, to his last day of employment on or about September 11,

       2019).

    35. The Plaintiff was a full time non-exempted hourly employee, working 6 days per

       week more than 40 hours every week. The Plaintiff’s wage-rate was $17.30 and

       $11.44 an hour.

    36. The Plaintiff was employed as a “local express mail delivery driver”, and she

       performed her duties on motor vehicles weighing 10,000 pounds or less.

    37. Consequently, the Plaintiff was covered under the Small Vehicle Exemption of the

       Motor Carrier Act, and she was entitled to be paid for overtime hours as established

       by the Fair Labor Standards Act.

    38. While employed by the Defendant, the Plaintiff worked 6 days per week, more than

       40 hours per week without proper compensation. The Plaintiff performed the same

       or similar duties as that of those other similarly situated “local drivers” who




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        Plaintiff observed worked in excess of 40 hours per week without overtime

        compensation.

     39. The Plaintiff worked 6 days per week an irregular schedule. On Mondays Plaintiff

        worked 5.20 hours; from Tuesdays to Fridays (4 days) Plaintiff worked an average

        of 11.5 hours daily, and on Saturdays, Plaintiff worked 4 hours plus 40 minutes.

        The Plaintiff completed an average of 56.40 working hours weekly.

     40. The Plaintiff worked in excess of 40 hours per week, but she was not properly

        compensated. The Plaintiff was not paid for all her overtime hours.

     41. The Plaintiff did not clock-in and out, but she wrote down part of her working

        hours. The Defendant was able to track the number of hours worked by Plaintiff

        and other similarly situated individuals. The Defendant should be in possession of

        time records.

     42. Therefore, Defendant willfully failed to pay Plaintiff overtime at the rate of time

        and a half his regular rate, for every hour that he worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C.

        207(a)(1).

     43. The Plaintiff was paid bi-weekly with paystubs that did not provide basic

        information about job classification, the number of days and hours worked, wage

        rate paid etc., etc.

     44. The records concerning the number of hours worked by Plaintiff DESIREE

        OLKER, and all others similarly situated employees, and the compensation actually

        paid to such employees should be in the possession and custody of the




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        Defendant. However, upon information and belief, Defendant did not maintain

        accurate time records of hours worked by Plaintiff and other employees.

     45. The Defendant violated the record-keeping requirements of FLSA, 29 CFR Part

        516.

     46. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the

        time of the filing of this complaint, the Plaintiff’s good faith estimate of unpaid

        wages are as follows:

     * Please note that these amounts are based on a preliminary calculation and that these
     figures are subjected to modifications as discovery could dictate. After proper
     discovery, the Plaintiff will adjust his calculations.
     * The total relevant time is 134 weeks. We have deducted 8 weeks in which Plaintiff
      did not work O/T hours.


            a. Total amount of alleged unpaid wages:

                Fifty Thousand Seven Hundred Forty Dollars and 08/100 ($50,740.08)

                Calculation of such wages:
                Total relevant weeks of employment: 126 weeks
                Total Overtime hours: 16.40 O/T hours weekly

                1.- Overtime for 106 weeks paid at $17.30 an hour

                Regular rate: $17.30 an hour x 1.5=$25.95 O/T rate
                O/T rate: $25.95 an hour

                O/T rate $25.95 x 16.40 O/T hours=$425.58 x 106 weeks=$45,111.48

                2.- Overtime for 20 weeks paid at $11.44 an hour

                Regular rate: $11.44 an hour x 1.5=$17.16 O/T rate
                O/T rate: $17.16 an hour

                O/T rate $17.16 x 16.40 O/T hours=$281.43 x 20 weeks=$5,628.60

                Total 1 and 2: $50,740.08

            b. Nature of wages (e.g. overtime or straight time):

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               This amount represents the unpaid overtime for the relevant period

     47. At all times material hereto, the Employer/Defendant EDWARD ZENGEL

        EXPRESS failed to comply with Title 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2

        and § 516.4 et seq. in that Plaintiff and those similarly-situated performed services

        and worked in excess of the maximum hours provided by the Act but no provision

        was made by the Defendant to properly pay them at the rate of time and one half

        for all hours worked in excess of forty hours (40) per workweek as provided in said

        Act. The additional persons who may become Plaintiffs in this action are weekly-

        paid employees and/or former employees of Defendant who are and who were

        subject to the unlawful payroll practices and procedures of Defendant and were not

        paid time and one half of their regular rate of pay for all overtime hours and straight

        time hours worked in excess of forty.

     48. Defendant EDWARD ZENGEL EXPRESS knew and/or showed reckless disregard

        of the provisions of the Act concerning the payment of overtime wages as required

        by the Fair Labor Standards Act and remains owing Plaintiff and those similarly-

        situated these overtime wages since the commencement of Plaintiff’s and those

        similarly-situated employee’s employment with Defendant as set forth above, and

        Plaintiff and those similarly-situated are entitled to recover double damages.

     49. Defendant EDWARD ZENGEL EXPRESS willfully and intentionally refused to

        pay Plaintiff overtime wages as required by the law of the United States and

        remains owing Plaintiff these overtime wages since the commencement of

        Plaintiff’s employment with Defendant, as set forth above.




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     50. The Plaintiff has retained the law offices of the undersigned attorney to represent

         her in this action and is obligated to pay a reasonable attorneys’ fee.

                                   PRAYER FOR RELIEF

  WHEREFORE, Plaintiff DESIREE OLKER and those similarly situated individuals

  respectfully request that this Honorable Court:

         A. Enter judgment for Plaintiff DESIREE OLKER and other similarly situated and

             against the Defendant EDWARD ZENGEL EXPRESS, based on the

             Defendant’s willful violations of the Fair Labor Standards Act, 29 U.S.C. § 201

             et seq.; and

         B. Award Plaintiff actual damages in the amount shown to be due for unpaid half-

             time overtime compensation for hours worked in excess of forty weekly, with

             interest; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and

         D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.

                                       JURY DEMAND

  Plaintiff DESIREE OLKER and those similarly situated demand trial by a jury of all issues

                                 COUNT II:
          F.L.S.A. WAGE AND HOUR FEDERAL STATUTORY VIOLATION:
                       FAILURE TO PAY MINIMUM WAGE

     51. Plaintiff DESIREE OLKER re-adopts every factual allegation as stated in

         paragraphs 1-28 of this complaint as if set out in full herein.




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     52. This action is brought by Plaintiff DESIREE OLKER and those similarly-situated

        to recover from the Employer EDWARD ZENGEL EXPRESS unpaid minimum

        wages, as well as an additional amount as liquidated damages, costs, and reasonable

        attorney’s fees under the provisions of 29 U.S.C. § 201 et seq., and specifically

        under the provisions of 29 U.S.C. §206.

     53. The Employer EDWARD ZENGEL EXPRESS was engaged in interstate

        commerce within the meaning of the FLSA, and as defined in §§ 3 (r) and 3(s) of

        the Act, 29 U.S.C. § 203(r) and 203(s). The Defendant is a transportation company,

        and through its business activity, participate in interstate commerce. The Defendant

        had more than two employees recurrently engaged in commerce or in the

        production of goods or services for commerce. The Employer/Defendant obtains

        and solicits funds from non-Florida sources, accepts funds from non-Florida

        sources, uses telephonic transmissions going over state lines to do its business,

        transmits funds outside the State of Florida, and otherwise regularly engages in

        interstate commerce, particularly with respect to their employees.            Upon

        information and belief, the annual gross revenue of the Employer/Defendant was

        always material hereto in excess of $500,000 per annum, and/or Plaintiff and those

        similarly situated, by virtue of working in interstate commerce, otherwise satisfy

        the Act’s requirements. Therefore, there is FLSA enterprise coverage.

     54. The Plaintiff was employed by an enterprise engaged in interstate commerce. The

        Plaintiff’s work for the Defendant likewise affects interstate commerce. Plaintiff

        was a local driver and through his daily activities she regularly, handled or

        otherwise worked on goods and/or materials that have been moved across State



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        lines at any time in the course of business. Therefore, there is FLSA individual

        coverage.

     55. By reason of the foregoing, Defendant’s business activities involve those to which

        the Fair Labor Standards Act applies.

     56. U.S.C. §206 states “Every employer shall pay to each of his employees who in any

        workweek is engaged in commerce or in the production of goods for commerce, or

        is employed in an enterprise engaged in commerce or in the production of goods

        for commerce, wages at the following rates:

         (1) except as otherwise provided in this section, not less than—

                 (A) $5.85 an hour, beginning on the 60th day after May 25, 2008;

                 (B) $6.55 an hour, beginning 12 months after that 60th day; and

                 (C) $7.25 an hour, beginning 24 months after that 60th day

     57. Defendant EDWARD ZENGEL EXPRESS is a private motor carrier, providing

        transportation of regular mail, express mail, and packages, to the United States

        Postal Service. The Defendant is a contractor for the U.S. Postal Service (USPS),

        and in addition to the Service Contract Act of 1965, the Defendant is subjected to

        the Fair Labor Standards Act (29 U.S.C. 201-219), including its pertaining

        regulations.

     58. Defendant EDWARD ZENGEL EXPRESS employed Plaintiff DESIREE OLKER

        from approximately November 01, 2014, to September 11, 2019, or more than 4

        years. However, for FLSA purposes the relevant employment period is 134 weeks,

        (from February 13, 2017, to his last day of employment on or about September 11,

        2019).



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     59. The Plaintiff was employed as a “local express mail delivery driver”, and she

        performed her duties on motor vehicles weighing 10,000 pounds or less.

     60. Consequently, the Plaintiff was covered under the Small Vehicle Exemption of the

        Motor Carrier Act, and she was entitled to be paid for every working hour as

        established by the Fair Labor Standards Act.

     61. The Plaintiff was a full time non-exempted hourly employee, working 6 days per

        week more than 40 hours every week. The Plaintiff’s wage-rate was $17.30 and

        $11.44 an hour since March 2019.

     62. While employed by the Defendant, the Plaintiff worked 6 days per week an

        irregular schedule. On Mondays Plaintiff worked 5.20 hours; from Tuesdays to

        Fridays (4 days) Plaintiff worked an average of 11.5 hours daily, and on Saturdays

        Plaintiff worked 4 hours plus 40 minutes. The Plaintiff completed an average of

        56.40 working hours weekly.

     63. The Plaintiff worked in excess of 40 hours per week, but she was not properly

        compensated for all her hours worked. The Plaintiff was paid an average of 25.15

        regular hours per week. The Defendant paid Plaintiff and other similarly situated

        individuals, hours according to a preset schedule, regardless the real number of

        hours worked.

     64. During the relevant employment period, the Plaintiff worked at least 14.85 hours

        per week, without being paid at least minimum wages as established by the Fair

        Labor Standards Act.




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     65. The Plaintiff did not clock-in and out, but she wrote down part of her working

        hours, and the Defendant was able to track the number of hours worked by Plaintiff

        and other similarly situated individuals.

     66. Therefore, Defendant failed to pay Plaintiff minimum wages, in violation of the

        Fair Labor Standards Act of 1938 (29 U.S.C. §206 (a)).

     67. The records, if any, concerning the number of hours worked by Plaintiff and all

        others similarly situated employees, and the compensation actually paid to such

        employees should be in the possession and custody of the Defendant. However,

        upon information and belief, the Defendant did not maintain accurate and complete

        time records of hours worked by Plaintiff and other employees in the asserted class.

     68. The Defendant violated the record-keeping requirements of FLSA, 29 CFR Part

        516.

     69. The Defendant never posted any notice, as required by the Fair Labor Standards

        Act and Federal Law, to inform employees of their federal rights to overtime and

        minimum wage payments. The Defendant violated the Posting requirements of 29

        U.S.C. § 516.4.

     70. Prior to the completion of discovery, and to the best of Plaintiff’s knowledge, at the

        time of the filing of this complaint, the Plaintiff’s good faith estimate of unpaid

        wages are as follows:

        *Please note that these amounts are based on a preliminary calculation and that these
        figures could be subject to modification as discovery could dictate.
        * The total relevant time is 134 weeks. We have deducted 8 weeks in which Plaintiff
          worked on a part-time basis.
        *Florida minimum wage 2019 is $8.46 which is higher than Federal minimum
        wage, as per FLSA regulations the higher minimum wage rate applies.

            a. Total amount of alleged unpaid wages:

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                Fifteen Thousand Eight Hundred Thirty Dollars and 64/100 ($15,830.64)

            b. Calculation of such wages:

                Total relevant weeks of employment: 126 weeks
                Total number of unpaid hours: 14.85 regular hours weekly
                Florida minimum wage 2019: $8.46

                FL Min. wage $8.46 x 14.85 hrs.=$125.64 weekly x 126 weeks=$15,830.64

            c. Nature of wages:

                This amount represents unpaid minimum wages at Florida Min. wage rate

     71. Defendant EDWARD ZENGEL EXPRESS unlawfully failed to pay Plaintiff

        minimum wages. The Plaintiff seeks to recover for minimum wage violations

        accumulated during the relevant employment period.

     72. Defendant EDWARD ZENGEL EXPRESS knew and/or showed reckless disregard

        of the provisions of the Act concerning the payment of minimum wages as required

        by the Fair Labor Standards Act and remains owing Plaintiff and those similarly-

        situated these minimum wages since the commencement of Plaintiff and those

        similarly-situated employees’ employment with Defendant as set forth above, and

        Plaintiff and those similarly-situated are entitled to recover double damages.

     73. Defendant EDWARD ZENGEL EXPRESS willfully and intentionally refused to

        pay Plaintiff minimum wages as required by the law of the United States and

        remains owing Plaintiff these minimum wages since the commencement of the

        Plaintiff’s employment with Defendant.

     74. The Plaintiff has retained the law offices of the undersigned attorney to represent

        her in this action and is obligated to pay a reasonable attorneys’ fee.




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                                        PRAYER FOR RELIEF

  WHEREFORE, Plaintiff DESIREE OLKER and those similarly situated respectfully

  request that this Honorable Court:

            A. Enter judgment for Plaintiff DESIREE OLKER and against the Defendant

               EDWARD ZENGEL EXPRESS based on the Defendant’s willful violations of

               the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. and other Federal

               Regulations; and

            B. Award Plaintiff actual damages in the amount shown to be due for unpaid

               minimum wages, with interest; and

            C. Award Plaintiff an equal amount in double damages/liquidated damages; and

            D. Award Plaintiff reasonable attorney's fees and costs of suit; and

            E. Grant such other and further relief as this Court deems equitable and just and/or

               available pursuant to Federal Law.

                                          JURY DEMAND

  Plaintiff DESIREE OLKER and those similarly situated demand trial by a jury of all issues

  triable as of right by a jury.

                           COUNT III:
     FEDERAL STATUTORY VIOLATION PURSUANT TO 29 U.S.C. 215 (a)(3)
                    RETALIATORY DISCHARGE

      75. Plaintiff DESIREE OLKER re-adopts every factual allegation as stated in

            paragraphs 1-28 of this complaint as if set out in full herein.

      76.   Defendant EDWARD ZENGEL EXPRESS was and is engaged in interstate

            commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and

            203(s)(1)(A). The Defendant provides pick-up, deliveries, courier services and



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        participated in interstate commerce by transporting all kinds of goods and

        valuables. Defendant recurrently received on its premises all kinds of merchandise

        ordered and purchased from out of state manufacturers. The Defendant’s activities

        were essential to interstate commerce. Defendant has more than two employees

        recurrently engaged in commerce or in the production of goods for commerce by

        regularly and recurrently using the instrumentalities of interstate commerce to

        accept and solicit funds from non-Florida sources, by using electronic devices to

        authorize credit card transactions. Upon information and belief, the annual gross

        revenue of the Employer/Defendant was in excess of $500,000 per annum.

        Therefore, there is FLSA enterprise coverage.

     77. Plaintiff and those similarly situated were employed by an enterprise engaged in

        interstate commerce. Plaintiff and those similarly situated through their daily

        activities were regularly engaged in interstate commerce. The Plaintiff’s activities

        as an express mail driver were related and essential to interstate commerce.

        Therefore, there is FLSA individual coverage.

     78. By reason of the foregoing, Defendant’s business activities involve those to which

        the Fair Labor Standards Act applies.

     79. 29 U.S.C. § 206 (a) (1) states “….an employer must pay a minimum wage of

        $5.15/hr. to an employee who is engaged in commerce....” [29 U.S.C. § 206 (a)

        (1)].

     80. 29 U.S.C. § 207 (a) (1) states, "if an employer employs an employee for more than

        forty hours in any workweek, the employer must compensate the employee for




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        hours in excess of forty at the rate of at least one and one-half times the employee's

        regular rate…"

     81. Likewise, 29 U.S.C. 215(a)(3) states... it shall be unlawful for any person— “to

        discharge or in any other manner discriminate against any employee because such

        employee has filed any complaint or instituted or caused to be instituted any

        proceeding under or related to this chapter, or has testified or is about to testify in

        any such proceeding,......”

     82. Defendant EDWARD ZENGEL EXPRESS employed Plaintiff DESIREE OLKER

        from approximately November 01, 2014, to September 11, 2019, or more than 4

        years. However, for FLSA purposes the relevant employment period is 134 weeks,

        (from February 13, 2017, to his last day of employment on or about September 11,

        2019).

     83. The Plaintiff was a full time non-exempted hourly employee, working 6 days per

        week more than 40 hours every week. During the relevant period of employment,

        the Plaintiff’s last wage-rate was $17.30 and $11.44 an hour.

     84. The Plaintiff was employed as a “local express mail delivery driver”, and she

        performed her duties on motor vehicles weighing 10,000 pounds or less.

     85. Consequently, the Plaintiff was covered under the Small Vehicle Exemption of the

        Motor Carrier Act, and she was entitled to be paid for overtime hours as established

        by the Fair Labor Standards Act.

     86. The Plaintiff worked 6 days per week an irregular schedule. On Mondays, the

        Plaintiff worked from around 2:30 PM to 7:50 PM (5 hours, plus 20 minutes). From

        Tuesdays to Fridays, Plaintiff began her daily route, approximately at 8:20 AM.



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        The Plaintiff picked up her cargo from two different USPS processing and

        distribution centers located in the Orlando area, and then she transported and

        delivered the items to the designated post office facilities in Palm Bay City. The

        Plaintiff completed her deliveries around 11:30 AM.

     87. The Defendant ordered Plaintiff to stay in the area of Palm Bay City and waiting

        until 5:00 PM to pick up mail and cargo from all the USPS post offices in her route

        and took them to the Processing and distribution center in the Orlando area to be

        properly shipped. The Plaintiff completed her shift approximately at 7:50 PM when

        she arrived at EDWARD ZENGEL EXPRESS’ yard in Orlando.

     88. Thus, on Mondays Plaintiff worked 5.20 hours; from Tuesdays to Fridays (4 days)

        Plaintiff worked an average of 11.5 hours daily, and on Saturdays Plaintiff worked

        4 hours plus 40 minutes. The Plaintiff completed an average of 56.40 working

        hours weekly.

     89. However, Plaintiff was paid for an average of 25.15 regular hours per week,

        because Defendant had the practice of paying working hours according to a pre-

        fixed schedule, regardless of the real number of hours worked. Consequently, there

        was a substantial number of regular hours that were not paid to her, at any rate, not

        even at the minimum wage rate, as established by the Fair Labor Standards Act.

     90. In addition, Plaintiff was not paid for overtime hours at the rate of one time and a

        half her regular rate, as required by the FLSA.

     91. The Plaintiff did not clock-in and out, but she wrote down part of her working

        hours. The Defendant was able to track the number of hours worked by Plaintiff

        and other similarly situated individuals.



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     92. Therefore, Defendant willfully failed to pay Plaintiff regular hours and overtime

        hours at the rate of time and a half her regular rate, for every hour that she worked

        in excess of forty (40), in violation of Section 7 (a) of the Fair Labor Standards Act

        of 1938 (29 U.S.C. 207(a)(1).

     93. The Plaintiff was paid bi-weekly with paystubs that did not provide basic

        information about job classification, the number of days and hours worked, wage

        rate paid etc., etc.

     94. The Plaintiff was in complete disagreement with the number of regular hours paid

        to her and she complained multiple times with her supervisor Jose D. Pineiro, but

        this supervisor never provided Plaintiff with a satisfactory answer or explanation.

     95. On or about May 2019, the Plaintiff also participated in an investigation opened by

        the Department of Labor about unpaid wages at EDWARD ZENGEL EXPRESS.

     96. These complaints constituted protected activity under FLSA, 29 U.S.C. 215(a)(3).

     97. On or about August 2019, looking for supplementing her wages, the Plaintiff

        requested to work on a part-time basis for EDWARD ZENGEL EXPRESS, and the

        Defendant accepted the Plaintiff’s petition. Soon, the Plaintiff got a second part-

        time job with another company.

     98. Around the same time, August 2019, the investigation of the Department of Labor

        finished, and Plaintiff was told by a Human Resources representative that

        Defendant knew that Plaintiff had participated in the investigation of the

        Department of Labor.

     99. Unexpectedly for Plaintiff, on or about September 11, 2019, she was terminated by

        Defendant. Plaintiff was falsely accused by his supervisor Jose D. Pineiro, of



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           leaving her job voluntarily. The Plaintiff protested and talked to Human Resources

           and let them know that she did not resign and that she was fired by supervisor Jose

           D. Pineiro.

      100.        At all times during her employment, Plaintiff performed her work

           satisfactorily. There was no reason other than a retaliatory action to terminate

           Plaintiff’s employment with Defendant.

      101.        The termination of Plaintiff DESIREE OLKER by the Defendant was

           directly and proximately caused by Defendant’s unjustified retaliation against her,

           because of her multiple complaints about missing payment for regular hours,

           waiting time, and overtime hours, in violation of Federal Law.

      102.        The Plaintiff’s termination came just in closed proximity after the Plaintiff’s

           participation in protected activity was known.

      103.        Defendant EDWARD ZENGEL EXPRESS willfully and maliciously

           retaliated against Plaintiff because she engaged in protected activity.

      104.        The Defendant’s termination of Plaintiff ‘s employment was in direct

           violation of 29 U.S.C. 215 (a) (3) and, as a direct result, the Plaintiff has been

           damaged.

      105.        The Plaintiff has retained the law offices of the undersigned attorney to

           represent her in this action and is obligated to pay a reasonable attorneys’ fee.

                                     PRAYER FOR RELIEF

  WHEREFORE, Plaintiff DESIREE OLKER respectfully requests that this Honorable

  Court:




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          A. Issue a declaratory judgment that the Defendant’s acts, policies, practices, and

             procedures complained of herein violated provisions of the Fair Labor Standards

             Act;

          B. Enter judgment against Defendant EDWARD ZENGEL EXPRESS that Plaintiff

             recovers compensatory damages and an equal amount of liquidated damages as

             provided under the law and in 29 U.S.C. § 216(b);

          C. That Plaintiff recovers an award of reasonable attorney fees, costs, and expenses.

          D. Order the Defendant EDWARD ZENGEL EXPRESS to make whole the

             Plaintiff by providing appropriate back pay and other benefits wrongly denied in

             an amount to be shown at trial and other affirmative relief;

          E. Plaintiff DESIREE OLKER further prays for such additional relief as the

             interests of justice may require.

                                        JURY DEMAND

  Plaintiff DESIREE OLKER demands trial by a jury of all issues triable as of right by a

  jury.

  Dated: This 28th day of February 2020.

                                                    Respectfully submitted,

                                                    By: _/s/ Zandro E. Palma____
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